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16                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                       OAKLAND DIVISION
17
      PATRICK CALHOUN, et al., on behalf of Case No. 4:20-cv-05146-YGR-SVK
18
      themselves and all others similarly situated,
19                  Plaintiffs,                     PLAINTIFFS’ OBJECTIONS AND MOTION
                                                    TO MODIFY SPECIAL MASTER REPORT
20                  v.                              AND RECOMMENDATION REGARDING
                                                    MODIFIED PRESERVATION PLAN
21    GOOGLE LLC,                                   (SEALED DKT. NO. 665)
22
                     Defendant.                    Fed. R. Civ. P. 53(f)(2)
23
                                                   Referral: Susan van Keulen, U.S.M.J.
24                                                 Special Master: Douglas A. Brush
25                                                 Zoom Hearing: June 30, 2022 at 9:30AM PT
26

27
            REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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     I.     PRELIMINARY STATEMENT AND SUMMARY OF ARGUMENT

 2          The Special Master’s Amended Report and Recommendations dated May 23, 2022 (the

 3   “Amended R&R,” Calhoun Sealed Dkt. No. 665) recommending a modified data log preservation

 4   plan (the “Modified Plan”) is a thoughtful compromise. Last year, Google perpetrated a grave

 5   injustice on the putative class and on the Court when it secured an order relieving it of the obligation

 6   to suspend ordinary data deletion policies – secured by falsely representing that the data logs do

 7   not record whether a Chrome user is not synced. See Dkt. No. 174. Google has since admitted to

 8   the Plaintiffs and to the Special Master the opposite – that numerous data logs record when a

 9   Chrome user is                                            ” (the “         signal) or when a user

10                    (the “                         ). Plaintiffs also recently learned of a third signal called

11                    ” that, when set to zero or           is proof that a

12                                  ). There are also other signals from which the not-sync state can be

13   inferred, including certain signed-out identifiers like Biscotti (the DoubleClick advertising ID) and

14   Zwieback (the primary way Google tracks signed-out users across the web).

15          The Modified Plan partially remedies Google’s injustice – prospectively, at least.1 Under

16   the Modified Plan, Google is required to

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22                                                                                              .

23          Plaintiffs still strongly prefer full preservation of all relevant logs. Without full preservation,

24   the Court might need to engage in future determinations regarding evidentiary inferences permitted

25

26   1
       Plaintiffs and putative class members have no adequate preservation remedy for Google’s past
     deletion of the data logs, which is the subject of the Motion for Sanctions for Discovery Misconduct
27
     dated May 24, 2022 (Dkt. No. 670). Today’s Objections and Motion to Modify is thus limited to
28   the prospective relief recommended in the Modified Plan.

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     from the samples, because there has not been any a priori inquiry into the scientific reliability of

 2   the sample structure. There is also the very real danger that Google is still concealing yet more not-

 3   synced signals, because the Special Master log-search process has not yet concluded. But if the

 4   Court adopts the Modified Plan over Plaintiffs’ objections, Plaintiffs respectfully request certain

 5   (hopefully non-controversial) modifications to reduce ambiguities and reduce the chances of future

 6   disputes. Therefore, pursuant to Fed. R. Civ. P. 53(f) and this Court’s instructions on May 23, 2022

 7   (Dkt. No. 667), the Calhoun Plaintiffs respectfully submit these objections and move to modify the

 8   Amended R&R to clarify several points:

 9             1.   Clarify what is meant by                   signals;
               2.   Clarify what is meant by
10
               3.   Require that Google identify the fields subject to preservation, produce all
11                  field names and descriptions to Plaintiffs, and give Plaintiffs an opportunity
                    to participate in the selection of preserved fields;
12
               4.   Order Google not to change log preservation periods without prior Court
13                  approval;
14             5.   Clarify the order to preserve                         and
               6.   Clarify that Google cannot use the destruction of profile, revenue, and certain
15
                    content information to oppose any motion by the named Plaintiffs or claims
16                  made by absent class members.

17             Plaintiffs also preserve certain objections to the original April 4, 2022 R&R, set forth in
18   Section III below, as instructed by the Court, see Dkt. No. 667, and therefore Plaintiffs retain the
19   original objection numbering herein. Two of the prior objections are also re-asserted today in
20   modified form, in light of the Special Master’s modifications.
21   II.       STATEMENT OF ISSUES TO BE DECIDED
22             Whether the Court should adopt the Special Master’s Amended Report and
23   Recommendations and Modified Preservation Plan, with the modifications proposed by Plaintiffs
24   herein.
25   III.      PRIOR OBJECTIONS INCORPORATED BY REFERENCE
26             On April 15, 2022, Plaintiffs filed twelve numbered objections to the original R&R and
27   Preservation Plan. See Dkt. No. 622. As permitted by the Court in its order of May 23, 2022 (Dkt.
28

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     No. 667), the following numbered objections are incorporated herein by reference:

 2          1.       The First Objection (objection to sampling) is incorporated herein by reference.

 3          2.       The Second Objection (requesting preservation of full logs containing not-synced

 4   signals) is incorporated herein by reference.

 5          3.       The Third Objection (full preservation of logs already being retained indefinitely)

 6   is incorporated herein by reference. Plaintiffs also restate this objection below in modified form.

 7          4.       The Fourth Objection (request for production of protos) is incorporated herein by

 8   reference.

 9          5.       The Fifth Objection (selection of sample population) is incorporated herein by

10   reference.

11          6.       The Sixth Objection (inclusion of Biscotti and Zwieback IDs) was addressed by the

12   Special Master in the Amended R&R and thus withdrawn.

13          7.       The Seventh Objection (renewed request for production of data dictionaries and

14   schema) is incorporated herein by reference, but now refers to Instruction Number 4.

15          8.       Eighth Objection (preservation period) is incorporated herein by reference.

16          9.       The Ninth Objection (continued full preservation of all Named Plaintiff data) is

17   incorporated herein by reference.

18          10.      The Tenth Objection (notice to putative class members regarding effect of wipe-out

19   instructions) is incorporated herein by reference, although in the Modified Plan, the wipe-out

20   instructions are now in Instruction No. 3.

21          11.      The Eleventh Objection (request for preservation of encryption keys) was addressed

22   by the Special Master; however, Plaintiffs request clarification of the definition of

23          in modified Eleventh Objection below.

24          12.      The Twelfth Objection (preservation of mapping tables) is incorporated herein by

25   reference. The Calhoun Plaintiffs also note that on May 31, 2022, the Court ordered in Brown that

26   “Mapping and Linking tables are to be preserved in their entirety,” Brown Dkt. No. 592-3, and

27   request the identical order here.

28

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     IV.     MEMORANDUM OF POINTS AND AUTHORITIES

 2           A.      LEGAL STANDARD

 3           “A party may file objections to – or a motion to adopt or modify – the master’s order, report

 4   or recommendations no later than 21 days after a copy is served, unless the court sets a different

 5   time.” Fed. R. Civ. P. 53(f)(2). On May 23, 2022, the Court ordered objections to be filed on an

 6   expedited schedule. Dkt. No. 667. Findings of fact and legal conclusions are reviewed de novo.

 7   Fed. R. Civ. P. 53(f)(3). In addition, a party filing objections or moving to modify a special master

 8   order may submit evidence. Fed. R. Civ. P. 53(f)(1); accord, United States v. High Plains Livestock,

 9   2017 WL 3052269, at *7 (July 10, 2017, D.N.M.) (allowing evidence).

10           B.      NUMBERED OBJECTIONS / REQUESTS FOR MODIFICATIONS

11           1.      First and Second Objections: asserted on April 15, 2022 (see Dkt. No. 622) and

12   incorporated herein by reference.

13           2.      Third Objection: On April 15, 2022, Plaintiffs requested that certain data logs be

14   preserved in their entirety, and this objection is incorporated herein by reference. But Plaintiffs

15   now also request that the Court include the following provision: “Google may not shorten the

16   existing data preservation period for any data source identified in the preservation plan without the

17   express permission of the Court, until this case has concluded.” Such provision was recently added

18   to the Brown preservation plan. See Brown Dkt. No. 592-3. In addition, Plaintiffs respectfully

19   request that the Court also order Google not to alter the structure of any relevant data logs, including

20   moving data fields from longer-retained logs to shorter-retained logs, without express permission

21   of the Court, until this case has concluded. Plaintiffs understand that Google alters the structure of

22   data logs in the ordinary course, and an order not to alter log retention periods is pointless if relevant

23   data fields are shifted from long-retention period logs to short-retention-period logs.

24           3.      The Fourth, Fifth, and Seventh through Tenth Objections are incorporated herein

25   by reference.

26           4.      The Eleventh Objection (Plaintiffs’ request to order preservation of encryption

27   keys): this request was made in Plaintiffs’ April 15, 2022 objections, and

28

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                                                                                     (and referenced in certain

 2   rows in the chart of data sources with the notation                                  Plaintiffs respectfully

 3   request that the Court slightly modify the language to mention “rotating keys” for clarity; thus, the

 4   plan would require Google to preserve “all encryption keys necessary to decrypt all preserved data,

 5   in their entirety, for the respective time periods (“rotating keys”) and time periods.” A similar (but

 6   not exact) provision was recently added to the Brown preservation plan. Brown Dkt. No. 592-3.

 7           5.      The Twelfth Objection (preservation of mapping tables): On April 15, 2022, the

 8   Calhoun Plaintiffs objected to the original R&R, requesting that the Court add a provision requiring

 9   the preservation of mapping tables. That objection is incorporated herein by reference, and the

10   Calhoun Plaintiffs also note that on May 31, 2022, the Court ordered in Brown that “Mapping and

11   Linking tables are to be preserved in their entirety,” Brown Dkt. No. 592-3. The Calhoun Plaintiffs

12   request the identical order here.

13           6.      The Thirteenth Objection (clarification of definition of “                           ”): This

14   objection is new, related only to changes in the Modified Plan. The Special Master ordered

15                                                                     Plaintiffs seek clarification that

16

17                             . This includes not only the signals expressly listed in the Amended R&R

18                        and Biscotti), but also the two additional

19                                                  Preservation should also include all Zwieback-keyed

20   entries. Just like                  ” a signal specifically mentioned in the Modified Plan, Zwieback

21   also identifies users who are “signed out” and thus by definition not synced.

22           Inclusion of Zwieback-keyed data in the preservation plan should not be controversial. The

23   Special Master explicitly ordered

24                 including Biscotti and                     as well as                                   .” This

25   should include signals from which sync state may be inferred, which would be consistent with this

26   Court’s prior order on November 12, 2021 that Google identify

27                                  Dkt. No. 378 (emphasis added). Zwieback is the most important signal

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     from which Google may infer not-synced status, and should be explicitly added to the Modified

 2   Plan, along with                                               and Biscotti.

 3            7.       The Fourteenth Objection (Clarification of                                                 As

 4   noted above, in the Modified Plan, the Special Master ordered “

 5                                                                                            .” Plaintiffs request

 6   clarification that the Modified Plan necessarily requires

 7                                                      : (1) Gaia and Zwieback

 8                        ); and (2) Gaia and Biscotti                                                     Plaintiffs

 9   also believe the Special Master’s order incorporates

10                                                                          . (R&R Index Nos. 31, 34, 36).

11   Accordingly, Plaintiffs request that the Order be clarified to include these additional identifiers and

12   identifier-comingling sources by name.

13            From the beginning of discovery, Google has claimed that it does not comingle Gaia with

14   Biscotti or Zwieback in any sources and that it would violate internal procedures to comingle the

15   two. Over the course of the past year, Google produced Plaintiff data and other discovery

16

17                                       . For example, on February 23, 2022, Google produced

18                       data that revealed:

19                 

20                                                 3


21                    4 columns with

22                    26 columns that

23

24   2
                is contained in Row 122 of GOOG-CALH-01170421, attached as Ex. A to the
     Declaration of David Straite dated June 8, 2022.
25
     3
26                      is contained in Row 34.
     4
27       Precise               is contained in Rows 65-67 and 73.

28   5
                                               in Rows 21-30, 33-34, 93, 134-138, 140-146, and 330.

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                      3 columns that

 2           Further revelations of how Google                                         occurred on May 9, 2022,

 3    the date on which Plaintiffs received                                                 :

 4                    58 columns

 5                    30 columns with

 6           8.        The Fifteenth Objection (Google should identify relevant fields): the Modified Plan

 7    mostly adopts Google’s preference for sampling, and only adopts

 8

 9                in the Modified Plan. But while the data is mostly identified, the fields are not. Plaintiffs

10    therefore respectfully request several modifications to this aspect of the order to ensure a level

11    playing field:

12                     a. Identification of Fields: Google should identify all fields that it believes are

13                        implicated by the preservation order. As currently worded, Google has no

14                        obligation to reveal what fields it contends are implicated.

15                     b. Production of all field names, descriptions, data dictionaries and schema for the

16                        logs: Full transparency must be the rule if Google is to be trusted with selecting

17                        which fields meet the preservation criteria. Furthermore, there should be no

18                        undue burdens associated with producing

19

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      6
22                          in Rows 406-407 and 434.
23    7
                                                                                                    : 58,
      69, 125, 186, 217, 226, 245, 246, 316, 456, 467, 477, 546, 614, 654, 689, 716, 765, 811, 846, 894,
24    932, 955, 1031, 1058, 1154, 1227, 1245, 1341, 1362, 1437, 1477, 1588, 1632, 1663, 1697, 1739,
25    1773, 1778, 1783, 1881, 1924, 1953, 1965, 2003, 2048, 2052, 2120, 2206, 2234, 2245, 2295, 2313,
      2378, 2416, 2498, 2789, and 2803. See Straite Decl., ¶ 5.
26    8
                    are present in Rows 32, 128, 286, 428, 465, 555, 745, 784, 940, 963, 997, 1085,
27    1264, 1347, 1379, 1383, 1599, 1683, 1692, 1721, 1807, 1809, 1901, 1973, 1982, 2232, 2289, 2636,
      2688, and 2767. Id.
28

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                                                                       . See Instruction No. 4.9

 2                      c. Clarification re:              The

 3                                    Index Nos. 28 and 36, respectively) have

 4                                        See Straite Decl., ¶ 5 and Ex. A. But Google never identified

 5                          “fields.” The Court should clarify that for these two data sources,

 6                                        should be preserved if they meet the criteria in the Modified Plan.

 7             9.       The Sixteenth Objection (Google may not use the absence of deleted data in any

 8    argument): The Special Master largely adopted Google’s preference for sampling, only ordering

 9                                                                                       . If Google is permitted to

10    argue that the absence of such information is a bar to class certification, class member identification

11    and qualification, or the merits of any absent class member’s claim, Plaintiffs and putative class

12    members would be grossly and unfairly prejudiced. If Google is given authority from the Court to

13    destroy relevant data, therefore, such order must be accompanied by an evidentiary order

14    precluding Google from raising the absence of such data in any argument related to any issue in the

15    case.

16             For example, Plaintiffs’ review of Google’s May 20 production of Plaintiff data revealed

17    that every entry for every named Plaintiff and every Shafiq test account in the

18

19                                                       Under the Electronic Communications Privacy Act

20    (“ECPA,” 18 U.S.C. § 2510(8)), “‘contents,’ when used with respect to any … electronic

21    communication, includes any information concerning the substance, purport, or meaning of that

22    communication.” Here, “content” contained within

23

24                        These fields are not designated for preservation in the Modified Plan, and Google

25    should not be able to use the absence of data to argue against “content.”

26

27    9
        The Special Master recommends full preservation of unnamed “fields” in the logs identified in
28    Index Nos. 2, 15, 28, 36, 49, 53, 56-58, and 60-62.

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               As defined by Google, a “

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 3

 4                                              .” See Straite Decl., Ex. B (GOOG-CABR-00893711) and Ex.

 5    C (GOOG-CABR-00096597). All of these are “content” under the ECPA (and show that the

 6    underlying

 7             ) because they “concern[] the substance, purport, and meaning of” the underlying electronic

 8    communication. For example, an entry for one of the Plaintiffs who exchanged a communication

 9    with a medical facility

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12                Straite Decl., ¶ 6.

13             In addition to “content,” every entry in the

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21                                        ”10

22             This “profile” information is highly relevant to Plaintiffs’ privacy claims and Google’s

23    consent argument. The California Supreme Court has explained that the California constitutional

24    invasion of privacy tort was created precisely to guard against companies gathering massive

25    amounts of personal data about people for the purpose of building individual dossiers. See, e.g. Hill

26
      10
27         Plaintiffs cannot tell the Court what
                                                                                          Plaintiffs have requested
28    that the Special Master order translation.

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      v. Nat’l Collegiate Athletic Assn., 865 OP.2d 633 (Cal. 1994). Aware of its relevance, Google

 2    initially falsely denied that it kept any user profiles in the related Brown action. See Brown Feb. 25,

 3    2022 Hrg. Tr. at 27:17-20. But of course this is not true. Google not only

 4

 5                                                                                             . However, when

 6    considered as a whole and as used across so many different websites that Google’s tracking and

 7    profile-making is unavoidable, it becomes highly offensive for all.

 8           Finally, every entry for every Plaintiff and every Shafiq test account in

 9

10

11

12

13                                                                                                           unjust

14    enrichment apportionment calculations.

15    V.     CONCLUSION

16           Plaintiffs respectfully request that the Court order full preservation of the relevant data logs.

17    In the alternative, to the extent the Court adopts the Special Master’s Modified Plan, the Plaintiffs

18    respectfully request that the plan be modified in accordance with the objections above.

19                                        [Signatures on Following Page]

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                    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 2           I, David A. Straite, attest that concurrence in the filing of this document has been obtained

 3    from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4           Executed this 8th Day of June, 2022, at Marbletown, New York.

 5
                                                                By       /s/ David A. Straite
 6                                                                       David A. Straite
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                                         CERTIFICATE OF SERVICE

 2           I, David A. Straite, hereby certify that on June 8, 2022 I caused to be electronically filed the

 3    foregoing document with the Clerk of the United States District Court for the Northern District of

 4    California using the CM/ECF system, which will send electronic notification to all counsel of

 5    record. I also caused sealed versions of the foregoing document to be emailed to Google counsel

 6    of record.
                                                                By       /s/ David A. Straite
 7                                                                       David A. Straite
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